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                                                                                        United States District Court
                                                                                          Southern District of Texas

                                                                                             ENTERED
                               UNITED STATES DISTRICT COURT                                  April 08, 2016
                                SOUTHERN DISTRICT OF TEXAS                                David J. Bradley, Clerk
                                    HOUSTON DIVISION

HELIX ENERGY SOLUTIONS GROUP,                      §
INC., et al,                                       §
                                                   §
           Plaintiffs,                             §
VS.                                                §   CIVIL ACTION NO. 4:15-CV-520
                                                   §
STARR INDEMNITY AND LIABILITY                      §
COMPANY,                                           §
                                                   §
           Defendant.                              §

                                                ORDER

          Before the Court is the plaintiffs’ motion to reconsider and to lift the stay (Dkt. No. 20).

The Court, having considered the motion, response in opposition, the arguments and authorities

presented, finds that the plaintiffs’ motion should be denied.

          It is, therefore, ORDERED that the motion to reconsider and to lift the stay is DENIED,

and that the stay of proceedings ordered by this Court on February 23, 2016, shall remain in

effect.

          SIGNED on this 8th day of April, 2016.


                                                    ___________________________________
                                                    Kenneth M. Hoyt
                                                    United States District Judge




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